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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                  SHERMAN DIVISION

   JUAN LOZADA-LEONI,             §
            Plaintiff,            §
                                  §                        CASE NO. 4:20-cv-00068-RWS-CMC
        v.                        §
                                  §
   MONEYGRAM INTERNATIONAL, INC., §
   And MONEYGRAM PAYMENT          §                        JURY TRIAL DEMANDED
   SYSTEMS, INC.,                 §
              Defendants.         §




               MOTION TO WITHDRAW PREVIOUSLY FILED PLEADING


  TO THE HONORABLE JUDGE OF SAID COURT:
         Attorney Steve Kardell, currently co-counsel for Plaintiff, hereby requests that the Court

  withdraw Kardell’s previously filed Motion to Stay [Dkt.74; filed 4/8/2020], and enter the

  attached Unopposed Order, allowing Kardell to withdraw as counsel for Plaintiff.

                                                       Respectfully submitted,

                                                       KARDELL LAW GROUP




                                               By:
                                                              Steve Kardell

                                               Date:          April 14, 2020

                                                        Steve Kardell
                                                        Texas State Bar No. 11098400
                                                        E-mail: skardell@kardelllawgroup.com


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                                                      KARDELL LAW GROUP
                                                      4514 Cole Avenue, Suite 600
                                                      Dallas, Texas 75205
                                                      Telephone:     214-616-4654
                                                      Facsimile:     469-729-9926

                                                      ATTORNEY FOR
                                                      PLAINTIFF, JUAN LOZADA-
                                                      LEONI



                              CERTIFICATE OF CONFERENCE

          Steve Kardell, counsel for Plaintiff, Juan Lozada-Leoni, conferred with all counsel on
   April 14, 2020, and represents that this Motion is unopposed.

                                               /s/ Steve Kardell
                                               Steve Kardell



                                 CERTIFICATE OF SERVICE

           I hereby certify that on this 14th day of April 2020, a copy of the foregoing document
   was filed electronically in compliance with Local Rule CV-5(a). Therefore, this document was
   served on all counsel who are deemed to have consented to electronic service. Local Rule CV-
   5(a)(3)(A). Pursuant to Fed.R.Civ.P. 5(d) and Local Rule CV-5(e), all other counsel of record
   not deemed to have consented to electronic service were served with a true and correct copy of
   this document via e-mail, facsimile and/or U.S. First Class Mail.


                                               /s/ Steve Kardell
                                               Steve Kardell




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